Filed 8/26/24 P. v. Westby CA2/4
         NOT TO BE PUBLISHED IN THE OFFICIAL REPORTS

California Rules of Court, rule 8.1115(a), prohibits courts and parties from citing or relying on opinions
not certified for publication or ordered published, except as specified by rule 8.1115(b). This opinion
has not been certified for publication or ordered published for purposes of rule 8.1115.


     IN THE COURT OF APPEAL OF THE STATE OF CALIFORNIA

                            SECOND APPELLATE DISTRICT

                                        DIVISION FOUR



 THE PEOPLE,                                                  B325334

           Plaintiff and Respondent,                          (Los Angeles County
                                                              Super. Ct. No. YA098097)
           v.

 JUSTIN HEWITT WESTBY,

           Defendant and Appellant.


      APPEAL from a judgment of the Superior Court of
Los Angeles County, Kelly M. Kelley, Judge. Affirmed.
      Leslie Conrad, under appointment by the Court of Appeal,
for Defendant and Appellant.
      No appearance for Plaintiff and Respondent.
                         INTRODUCTION
      Appellant Justin Westby was convicted by a jury of two
counts of murder and one count of attempted murder; the jury
found firearm allegations true. The court sentenced Westby to
two terms of life without parole, a consecutive term of seven
years to life, and additional consecutive terms based on the
firearm allegations. Westby appealed.
      On appeal, appellant’s appointed counsel filed a brief and a
supplemental brief requesting that this court independently
review the record for error. (See People v. Wende (1979) 25 Cal.3d
436, 441 (Wende).) Westby also filed a supplemental brief. We
have conducted an independent examination of the entire record
and conclude no arguable issues exist. We therefore affirm.
       FACTUAL AND PROCEDURAL BACKGROUND
      The People charged Westby with the murder of Delroy
Anthony Bogle (Pen. Code, § 187, subd. (a), count 11), the murder
of Marcus Anthony Blackman (§ 187, subd. (a), count 2), and the
attempted, willful, deliberate, premeditated murder of M.C.2
(§§ 187, subd. (a), 664, subd. (a), count 4.3) The information
further charged a multiple murder special circumstance (§ 190.2,
subd. (a)(3)), and firearm enhancements for all counts
(§ 12022.53, subds. (b), (c), (d).) Westby pled not guilty and the
case proceeded to trial in April 2022. The following evidence was
presented.


1      All undesignated section references are to the Penal Code.
2      We refer to the surviving victim by initials to protect her
privacy. (See Cal. Rules of Court, rule 8.90(b)(4).)
3      An unidentified count 3 was dismissed at the preliminary
hearing. During trial, count 4 was referred to as count 3 in an
effort prevent jury speculation about count 3.



                                 2
1.    The fight at Hungry Joe’s
      On April 17, 2018, there was a fight at a restaurant called
Hungry Joe’s. Information about the fight was presented to the
jury in a recorded police interview of Westby that was played for
the jury; the testimony of Everett Heard, Westby’s cousin; the
testimony of Christopher Campbell, a Hungry Joe’s employee;
and video of the incident shown at trial.
      On April 17, 2018, Westby, Heard, and their friend Renisha
went to get Jamaican food at Hungry Joe’s, which was less than
two miles from Westby’s house. Westby drove his own car— a
2014 charcoal gray, 4-door BMW—and Renisha drove her similar
BMW with Heard as a passenger.4 Heard and Renisha went
inside Hungry Joe’s to get food; Westby waited in his car.
      While Heard and Renisha were inside the restaurant, a
female customer called Heard a “faggot” and other homophobic
slurs. Heard testified that he started to argue with the woman,
but then backed off and “let Renisha do the talking.” Renisha
and the woman argued. The jury was shown video of the
argument inside the restaurant and continuing as the women
moved into the parking lot.
      Campbell testified that he walked into the restaurant and
found a man and two women arguing. Campbell testified that as
the argument moved outside, he also went outside in an attempt


4      Inglewood Police Department detective and investigating
officer Luis Rodriguez testified that Renisha gave a statement to
police shortly after the incident, but further efforts to interview
her were unsuccessful. He also testified that Renisha was never
a suspect. The prosecution presented video evidence that
Renisha had been in the courthouse during the trial.



                                 3
to defuse the situation. Heard testified that there were also men
“in the parking lot hanging out, and they started calling” Renisha
names such as “bitch” and “hoe,” and they also called Heard a
“faggot” and other “gay slurs.” The woman who started the
confrontation got in a car and left. Campbell testified that
Renisha remained in the parking lot shouting profanities,
including saying, “I will blow this bitch up.”
      The argument in the parking lot caught Westby’s attention,
and he got out of his car to try to defuse the situation. Westby
said “a whole swarm of guys just came out” of the restaurant and
told Westby, Heard, and Renisha to leave. Heard went back into
the restaurant to cancel the food order and get his money back.
Campbell testified that although Westby initially tried to calm
Renisha down, he ended up joining the argument, which “got
louder and louder.”
      A fistfight broke out; multiple people were involved.
Westby told police that the men pinned him down as they hit and
kicked him. Heard testified that as he walked out of the
restaurant, he saw the group of men jump onto Westby. Then
someone hit Heard in the head with brass knuckles, which
knocked him unconscious. Campbell testified that the fight was
short, and “just ended up dying out.” A video was played for the
jury showing Heard unconscious and Renisha saying, “You’re
gonna get it, bitch.”
      After the men then backed off, Westby went to Heard, who
was still unconscious, and dragged him to the car. Renisha left
on her own. Westby dropped Heard off at his grandmother’s
house.
      2.     The shooting




                                4
       Later the same day, there was a shooting in the Hungry
Joe’s parking lot. M.C. testified that she and a friend, Peter,
drove to Hungry Joe’s on April 17, 2018. Peter went into the
restaurant to get food while M.C. waited in the car. Peter came
out of the restaurant with the food, but realized he had forgotten
to get their drinks, so he went back inside the restaurant. M.C.
continued waiting in the car.
       M.C. heard shouting and looked up to see a man holding a
gun. She ducked down in the car and heard the sound of shots
being fired. M.C. was not hit. She testified that she and Peter
panicked and drove out of the parking lot, but they stopped
nearby and ended up talking to police.
       Two men in the Hungry Joe’s parking lot were killed. The
jury was shown a photograph of the two victims in a Buick: Bogle
in the driver’s seat and Blackman in the passenger seat.
Blackman was transported to the hospital but he did not survive.
A pathologist testified that Bogle died from gunshot wounds to
the head; Blackman died from a gunshot wound to the neck.
Campbell testified that neither man had been involved in the
earlier fight. Police found ten .223 caliber casings near the right
rear of the Buick; there were multiple bullet holes and strike
marks outside and inside the Buick. There were also bullet holes
in M.C.’s car.
       News of the shooting was broadcast that evening, including
still photographs of Heard and Renisha taken from the
restaurant’s video. Heard testified that he saw pictures of
himself and Renisha on the news saying that police were looking
for them in connection with a shooting. Heard went to police the
following day and told them about the fight.
       3.    The investigation




                                 5
       A video of Heard’s interview with police was shown to the
jury. Two days after the shooting, Westby also went to police; a
video of his interview was played for the jury. Westby said that
after the fight he took Heard to his grandmother’s house, then
went home and stayed home for most of the next two days. The
detectives noted injuries on Westby’s face from the fight and took
pictures of them; the photos were shown to the jury. Westby said
he went to the hospital to have his injuries checked and was
diagnosed with a concussion. The detectives showed Westby part
of the video of the fight from the restaurant, and Westby
identified himself and Heard in the video. Westby told police he
had a dark gray BMW. The detectives asked Westby if anyone
else uses his car; Westby said no.
       The jury heard a recording of M.C.’s interview with police
from a few days after the shooting. The officers showed M.C. a
photo six-pack that included Westby’s photo; M.C. was not able to
identify a suspect. M.C. testified at trial that she could not
remember what she told police about the shooter’s appearance,
clothing, complexion, body, or the type of gun he was holding.
       Kelly Robertson, who lived near Hungry Joe’s, testified that
on April 17, 2018, he noticed a charcoal gray, 4-door BMW parked
on his street. The car had tinted windows. Robertson saw a
man, whom he identified at trial as Westby, get out of the car,
take a roll of tape from the trunk, and tape over the rear license
plate. Westby got back in the car, which was facing east, and
drove east.
       Robertson later saw the same car drive west on his street.
Robertson then heard gunshots, and he suspected they were
related to the car. The car then passed his house again, driving
east. Robertson called the police and reported what he saw and




                                6
heard. Officers later came to interview him, and a recording of
the interview was played for the jury.
       On cross-examination, Robertson admitted that he told
police he did not get a good look at the person who stopped in
front of his house, he did not identify Westby from a six-pack of
photos that officers showed him, and he did not positively identify
Westby until the preliminary hearing.
       Multiple videos were played for the jury that showed a gray
BMW in the area of Hungry Joe’s. Within a span of about two
and a half minutes, the gray BMW was visible, then gunshots
were audible, then the BMW passed again. The videos showed
that the BMW had tinted windows, five-spoke rims, a sunroof, no
front license plate, duct tape on the back license plate, and a
sticker on the passenger side of the front windshield.
       Police executed a search warrant at two locations on April
23, 2018. Police impounded Westby’s car—a 2014 charcoal gray,
4-door BMW with tinted windows, a sunroof, five-spoke rims, no
front license plate, and a dealer sticker in the passenger side of
the front windshield. A roll of gray duct tape was in the trunk.
       Police found Westby at one of the search warrant locations.
A box containing handgun parts (but no handgun) and a rifle bag
(but no rifle) were found at the other location. Mail addressed to
Westby was found at both locations. Cell phone records for
Westby’s phone number were presented to the jury, showing the
location of cell towers used for phone calls throughout the day on
April 17, 2018.
       Renisha’s BMW was located and photographed. It was a
similar model and color to Westby’s, but it did not have a sunroof
or tinting on the front windows.




                                7
       4.     The defense
       The defense called an expert to testify about witness
memory and accuracy.
       5.     The verdict and sentence
       The jury found Westby guilty of two counts of first degree
murder (counts 1 and 2) and one count of premeditated
attempted murder (count 4). For all three counts, the jury found
true the allegations that Westby personally used and discharged
a firearm (§ 12022.53, subd. (b) and (c)), and for the murder
counts, that discharge of the firearm caused death (§ 12022.53,
subd. (d)). The jury also found true the multiple murder special
circumstance (§ 190.2, subd. (a) (3)).
       New counsel substituted in for Westby, and filed a motion
for new trial on the grounds that prior counsel was ineffective
and the verdict was against the weight of the evidence. The
People opposed the motion. After a hearing, the trial court
denied the motion.
       The trial court sentenced Westby to life in prison without
possibility of parole on counts 1 and 2, two consecutive terms of
25 years to life on the enhancements under section 12022.53,
subdivision (d) on counts 1 and 2, a consecutive term of seven
years to life on count 4, and a consecutive term of 20 years for the
enhancement under section 12022.53, subdivision (c) on count 4.
The court awarded Westby credit for 1,687 days in custody5 and
imposed various fines and fees. Westby timely appealed.




5      Appellate counsel notes that Westby was entitled to credit
for 1,689 days of custody, and a motion to correct this error is
pending in the trial court.



                                 8
                            DISCUSSION
        On appeal, Westby’s appointed counsel filed a brief
requesting that we independently review the record for error.
(Wende, supra, 25 Cal.3d 436, 441.) We directed counsel to send
the record and a copy of the brief to Westby, and notified Westby
of his right to respond within 30 days. Westby submitted a
supplemental brief.
        We granted appellate counsel’s request to augment the
record to include voir dire so counsel could consider potential
violations of the Racial Justice Act (§ 745). Appellant’s counsel
then filed a supplemental brief invoking Wende. Again, we
directed counsel to send the record and a copy of the brief to
Westby, and notified Westby of his right to respond within 30
days. Westby belatedly requested additional time to file a second
supplemental brief; he did not assert any reason or good cause for
the request. We denied his request.
        In his supplemental brief, Westby asserts several grounds
of error: jury selection, ineffective assistance of counsel, the judge
and the prosecutor’s friendship, and a subpoena relating to a
witness who was not called to testify. We address each of these
issues below.
        1.    Jury selection
        Westby contends that “a great number of prospect[ive
jurors] individually made comments using racial bias, hatred,
and prejudice; expressing hatred for black people. The majority
of the prospective jurors felt this way and clearly used their right
to express themselves.” Westby asserts that his trial counsel
dismissed these concerns. Westby also contends, “I had very
little say in the jury selection process. I did not have a say in
whom I choose [sic] to work with or not.”




                                  9
       Westby’s claims of prospective juror bias are not supported
by the record. A single prospective juror said during voir dire
that due to “a lot of bad experiences with African-American
people,” he felt that he could not be a fair juror. This prospective
juror was dismissed and did not serve on the jury. No other
prospective jurors expressed bias, hatred, or prejudice.
       The record also does not support Westby’s contention that
he was not sufficiently involved in the jury selection process.
Westby appeared with his counsel every day at trial, and the
record reveals no impediments to communication between them.
In denying Westby’s motion for a new trial, the trial court
observed that Westby and his counsel met in lockup before and
during the trial, and that defense counsel had “an exceptional
rapport” with Westby and his family members who attended the
trial. Thus, nothing in the record suggests that Westby was
improperly prevented from participating in the jury selection
process with his counsel.
       2.    Ineffective assistance of counsel
       Westby asserts that his counsel asked the trial court “for
permission to spend the 1 hour lunch break to create the entire
closing statements to only produce a 3-slide powerpoint in which
he was presenting the same day.” “To establish ineffective
assistance of counsel, a defendant must show that counsel’s
representation fell below an objective standard of reasonableness
under prevailing professional norms, and counsel's deficient
performance was prejudicial, that is, there is a reasonable
probability that, but for counsel’s failings, the result would have
been more favorable to the defendant.” (People v. Sepulveda
(2020) 47 Cal.App.5th 291, 301.)




                                 10
       Westby’s argument echoes the contention in his motion for
a new trial that his trial counsel’s closing argument was “grossly
ineffective.” In denying that motion, the trial court disagreed
with Westby’s contention, stating that defense counsel “always
appeared exceptionally prepared and well versed on the issues,”
and “he advocated fiercely for his client, including during closing
arguments.” We agree that the closing arguments indicate that
defense counsel was very familiar with the evidence presented at
trial and argued competently on Westby’s behalf. To the extent
that any PowerPoint display was hastily crafted over a lunch
hour, it did not appear to detract from the arguments presented.
       Westby also asserts that the prosecutor “used my
attorney[’s] Microsoft Surface tablet numerous times to makes
[sic] entries. All the while [defense counsel] was having an open
dialogue with Chelsea &amp; Mark via text containing progress of
trial and strategy.” Westby does not explain the identity or roles
of Chelsea or Mark.
       We find no error. No objections were made during trial
about the use of any particular technology or piece of equipment.
To the extent Westby is suggesting that his counsel revealed
privileged information to the prosecution, nothing in the record
supports such a contention. There was no indication that the
prosecution discovered new evidence or changed strategy during
the trial based on new information learned, for example.
       3.     Relationship between the prosecutor and the judge
       Westby also states in his supplemental brief that the judge
and the prosecutor knew each other. Before the trial began, the
judge noted that she knew the prosecutor. The judge noted that
she and the prosecutor were former colleagues from when the
judge worked at the District Attorney’s office, they were friends




                                11
on Facebook, and she had endorsed the prosecutor in his
candidacy for a judge position. The judge stated that their
relationship would not affect her ability to be fair and impartial.
Defense counsel said he had no concerns about getting a fair and
impartial trial. Two days later, the judge noted that she had
unfriended the prosecutor on Facebook out of an abundance of
caution. Again defense counsel had no objection.
       Westby states in his supplemental brief, “My attorney
chose to proceed” despite the judge’s relationship with the
prosecutor. Again, we see no error. The relationship was fully
disclosed, defense counsel had the opportunity to object, and
defense counsel chose to proceed. By not objecting or moving to
disqualify the judge, Westby has forfeited any claim that his
statutory rights under Code of Civil Procedure section 170.1 were
violated. (People v. Peoples (2016) 62 Cal.4th 718, 786.)
Moreover, nothing in the record suggests that the judge
demonstrated actual bias toward the prosecution or was
otherwise inappropriate in her handling of the case. (See id. at p.
788 [actual bias may be demonstrated where, based on an
objective assessment of the circumstances of the particular case,
there is a probability of actual bias].)
       4.    Subpoena of a witness
       Westby states in his supplemental brief, “A friend of the
family voluntarily served a subpoena to a helpful witness. The
court received the subpoena and allowed the witness to testify.
Moments later the attorney went on record and announced that
he would not be using the witness [because] he will not be of any
benefit to me.”
       Westby’s supplemental brief does not include any citations
to the record, and the identity of this potential witness is unclear.




                                 12
Westby has also provided no information about what testimony
the witness would provide or how the testimony would help his
case. Westby has therefore failed to demonstrate any error
relating to this witness.

      5.     Case quotes
      Westby includes in his supplemental brief several quoted
statements from the reporter’s transcript. He does not explain
why these passages are quoted, nor does he make any argument
relevant to the quotes. We have reviewed the entire record,
including the portions of the record that contain the quoted
statements. The quoted statements do not suggest any error.
      We have examined the entire record and are satisfied no
arguable issues exist in the appeal before us. (Smith v. Robbins
(2000) 528 U.S. 259, 278; People v. Kelly (2006) 40 Cal.4th 106,
110; Wende, supra, 25 Cal.3d at p. 443.)
                          DISPOSITION
      The judgment is affirmed.
      NOT TO BE PUBLISHED IN THE OFFICIAL REPORTS



                     COLLINS, ACTING P. J.

We concur:



MORI, J.



ZUKIN, J.




                               13
